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                 EXHIBIT 9
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            0                      HOME THEATER


                                   Sanos vs. Bluesound: A Hi-fi, Wi-Fi                                                                 Hereto help
            0                      Speaker System Shootout
                                                                                                                                       OMGcrashes
             (!1   SHARE                                                                                                               go right.
                                   Sanos is the king of multi room audio, but this Canadian upstart
                                   plans a coup
                                                                                                                                                          AStateFarm·
            Simon Cohen
            ,I OAauallySimon                                                                                                          RELATED ON DT
                                                                                                                                                 Mobile
            POS EDON                                                                                                                             American Airlines expands its
            03 .1.18- 9:20AM PST                                                                                                                 fast in-flight Wi-Fi, but it still
                                                                                                                                                 costs

                                                                                                                                                 Deals
                                                                                                                                                 Amazon slashesthe price on
                                                                                                                                            -;   this TP-LinkWhole Home
                                                                                                                                                 Mesh Wi-Fi System




                                   0 Left: Sonos Play:1, Right: Bluesound Pulse Flex (Image credit : Simo n Cohen / Digital Trends)


                                   For years, Sones has managed to hold on to the top spot in the wire less home audio
                                   space - a category it single-handedly created 16 years ago. During that time, there
                                   has been no shortage of competitors. From audio behemoths like Denon, Bose, and
                                   Yamaha the surprising contributions from Amazon, Google, and Apple, many have
                                   imitated, but few have dupl icated Sones' achievemen ts. That may be about to change,
                                   though, and you can blame Canada.



                                                                                        ADVERT SEMENT




                                                                       While few outside the audiophile world were paying
            There hos been no
                                                                       attention, a small electronics distribution company              ELECTRICDRIVING.
            shortage of Sonos                                           based out of Ontar io called Lenbrook International ,           IT'SJUSTDRIVING.
            competi t ors.                                              has been acquiring some of the most respected                   ~
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                                                                                                     brands in the business, namely NAD, and PSB
                                  Speakers. Using components from both of these groups, Len brook created
                                  Bluesound , a who le-home audio product aimed squarely at audio fans who like the
                                  Sanos model, but want audiophile-grade performance.


                                  To see if Bluesound has managed to upstage Sanos, we spent a week with the two
                                  systems, side-by-side, subjecting them to a fu ll spate of usage scenarios: Listening to
                                  a private music collection, streaming from subscr iptions services like Tidal and Google
                                  Music, running a multi-speaker home t heater set-up, and multiroom opera t ions. All
                                  the while, we took careful notes on how each system sounded, and how easy it was to
                                  use. Here's what we found .




                                  Imitation or iteration?


                                  Like Denon' s HEOSsystem , Bluesound has gone out of its way to mimic Sonos's
                                  product line up. It's been clever about it, however, and so far has avoided the legal
                                  entanglement s that Denon's, um, flattery of Sanos has earned. Though pric ing and
                                  features make it hard to match up products perfectly, this chart shows how
                                  Bluesound and Sanos compare in terms of models:



             Sonos ($USO)                                                                            Bluesound (SUSD}


             Play: 1 ($1 SO)                                                                         Pulse Flex ($300)


             Play:3 ($250)                                                                           Pulse Mmi ($500)


             Play:5 ($500)                                                                           Pulse 2 ($700)


             PlayBa r ($700)                                                                         Pulse Soundbar ($800)


             SUB ($700)                                                                              Pulse Sub ($600)


             Connect ($350)                                                                          Nod e 2 ($500)


             Connect:AMP{$500)                                                                       PowerNode 2 ($800)




                                  This isn't a complete list - bot h companies make other products - but these are the
                                  models that come closest to a direct comparison. The first thing that jumps out at you
                                  is the price difference. Bluesound components are - with the sole exception of the
                                  Pulse Sub - $100 to $200 more than a roughly equivalent Sanos product. To justify
                                  this, Bluesound has loaded its products with extra features not found on any Sanos
                                  unit. On the back of every Bluesound speaker, you'll find an Ethernet port, USB port,
                                  headphone jack, and a combo optica l/analog input jack. There's also support for aptX
                                  Bluetooth alongside Wi-Fi, and the abi lity to play high-resolution audio files like
                                  lossless FLAC,MQA, WAV,and AIFF.This feature set is nearly ident ical to that of
                                  Denon's HEOS line.




                                  O Left: BluesoundPulse Soundbar, Right:Sanos Playbar(Simon Cohen/DigitalTrends+


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                                  about the extra cash: The amplification is provided by NAD, and the speakers' drivers
                                  are made by PSB,which is their way of saying you're buying a product with the kind of
                                  decades-old audiophile street cred an upstart like Sonos can't match. One Bluesound
                                  rep even went so far as to say, "Sonos is fine for background music." Ouch.


                                  For our test, we matched up a pair of Play:1 s, a Play:S, a Play:3, and a PlayBar, against
                                  a pair of Pulse Flexs, a Pulse 2, a Pulse Mini, and a Pulse Soundbar.



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                                  Getting a handle on design


                                  Looking at Sonos's product line leaves the impression that the company is sti ll refining
                                  its design language . Some products have metal speaker grilles with fine perforations,
                                  and others - like the PlayBar - use a fabric covering. Some use physical buttons,
                                  while the newer products, like the Sonos One smart speaker and the Play:5 have
                                  touch and gesture sensitive controls. Most use matte-finished black or white plastic
                                  for the main body, except the SUB,which favors high-gloss fini shes. Bluesound is
                                  more consistent with the look and feel of its products, though it also has some
                                  variation, especially with the controls: Depending on the product, you may get
                                  physical butt ons (Pulse Flex), touch controls (Pulse Min i and Pulse 2), or, in the case of
                                  the Pulse Soundbar, no controls at all.


                                                                                    Speaking of control, we were surprised to di scover
            Bluesound speakers can
                                                                                    that all of the Bluesound products, except the Pulse
            be programmed to work                                                   Flex, can be controlled with an infrared remote. The
            with any IR remote .                                                    company doesn't include a remote in t he box, because
                                                                                    the speakers can be programmed to work with any IR
                                  remote, thanks to learning funct iona lity. Play, pause, volume up & down,
                                  previous/next track, and presets can all be triggered. We suspect most people will
                                  only use this feature with the Pulse Soundbar, but it's great to have the option. Sanos
                                  offers this on its PlayBar and PlayBase exclusively, and only for volume control.


                                  Both companies have integrated powe r supplies into their speakers, something which
                                  very few manufacturers do these days, and we love it. It can be hard enough to hide a
                                  power cord, but add a bulky AC adapter, or wall-wart, and things can get downright
                                  ugly. Sanos has done a better job of hiding the power input s on its speakers, but we
                                  appreciate that Bluesound has designed its power cords with 90-degree angles on
                                  some models, to help minimize how much they protrude. It's also worth noting that
                                  the Pulse Flex can be equipped with an optional battery pack for outdoor use.




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                                  a Simon Cohen/Digital Trends

                                  We also think Bluesound deserves credit for including int egrated handles on the Pulse
                                  2, Pulse Mini, and the Pulse Soundbar. Handles may seem unimportant in the big
                                  scheme, but given that Bluesound speakers have an array of direct-connection
                                  options, like Bluetooth and line-in, it just makes sense that you should be able to tote
                                  them around as easily as possible. Sanos speakers only work when connected to a
                                  home Wi-Fi network, so we understand why they felt handles to be superfluous.



                                                                                  ADVERT SEMENT



                                           SONOS
                                           Brilliantsoundmadeeasy




                                  Set-up's a cinch


                                  Each system is controlled via a companion app for iOS/Android for mobile device, and
                                  both offer apps for Windows/Mac. Sanos calls its app simply "Sanos" while Bluesound
                                  calls its app "BluOS." Using the mobile app to set them up is equal ly easy, but with
                                  slightly different approaches. With Sanos, you need to physically press two buttons on
                                  a speaker to sync it to the system, whereas Bluesound asks you to fli p to your phone's
                                  Wi-Fi device list, and find the new speaker before finish ing the setup back in the
                                  BluOS app. We prefer Sonos's modestly simpler technique because switching out and
                                  in from an app always feels clunky, but both ways were equally quick.




                                  Got smarts?


                                  Smart home control, especially when done using yo ur voice via Amazon's Alexa,
                                  Google's Assistant, or Apple's Siri, is a massive trend right now. Sanos was one of the
                                  first audio companies to launch compatibility with Alexa, both through its new Sonos
                                  One smart speaker, or via any of Amazon's Echo products. It intends to offer Google
                                  Assistant later th is year. Bluesound tells us it plans to integrate voice control but is
                                  still looking at which techn ology will provide the best user experience. For now,
                                  advantage Sanos.




                                  Group love


                                  One of the best parts of investing in a whole-home audio system is being able to
                                  control the music for every room in the house from the palm of your hand. From the
                                  get-go, Sanos has set the benchmark for making this an easy, intuitive experience,
                                  and we've seen a lot of competitors fail to live up to that high bar. Bluesound
                                  manages to exceed it.


                                                                   In both mobi le and desktop versions of its app,
            Sonos set t he bench ma rk
                                                                   grouping and ungrouping speakers is effortless,
            for ma naging spea ke r                                thanks to little plus-sign buttons next to each speaker
            g rou ps. Bluesou nd                                   in the speaker list. Tap the speaker you want to group,

            manages to exceed it.                                  then tap the plus buttons next to each speaker you
                                                                   want to join it. That's it. Removing speakers is a two-
                                                                   tap process, but kill ing the group itself only takes one
                                  tap. Engaging all of your speakers to play the same music is just as easy. Not that it's
                                  hard to do this with Sanos products, but with Sanos, you do it through an
                                  intermediary dialog window. Bluesound has also added a unique feature to multi-
                                  speaker control: If at any time you want to switch the music you're listening to from
                                  one speaker to another, there's an arrow button you can tap, wh ich brings up the list

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                                  of speakers so you can pick where the music sho uld go. You can do this on Sonos too,
                                  but only via the grouping function, which is a little less convenient.



                                                                                  ADVERT SEMENT




                                  Why-Fi


                                  One thing we noticed with Bluesound gear is t hat it's a lot fussier t han Sanos when it
                                  comes to Wi-Fi. In order to max imize performance, and ensure that there are no
                                  problems with dropouts, the speakers need a really stro ng connection to yo ur Wi-Fi
                                  {assuming you're using wireless netwo rking). Unlike Sanos products, which can run
                                  their own mesh network when one of them is connected to Ethernet, Bluesound
                                  components must each maintain their own connection to your router. We
                                  encountered a few glitches along the way, including a strange problem with some of
                                  the speakers associating them selves to a mesh Wi-Fi node that had a weaker signal
                                  than t he one closest to them. Power cycling them fixed t his, but we found Sanos to be
                                  a more stab le system overall.




                                  Q Simon Cohen/Dig11alTrends




                                  More music


                                  When it comes to streaming mu sic services, no one beats Sanos for choice. With built-
                                  in support for over 60 subscript ion services includin g all of the majors, like Apple
                                  Music, Spotify, and Pandora, Sanos remains the streaming music king. Bluesound
                                  currently has suppor t for 16 services - a far cry from Sanos - but include s Spotify,
                                  Amazon Music, Deezer, and Tidal. Company reps tell us they're actively working on
                                  adding the missing biggies like App le Music, and Google Play, but customers who buy
                                  Bluesound for its support of high resolution music may not mind the wait: It already
                                  supports Tidal, and Qobuz, which are the two main providers of lossless streaming
                                  music at t he moment.


                                                                   You can, of course, stream any music service you have
            When it comes to
                                                                   on your phone or tablet to a Bluesound speaker via
            streaming music services,                              Bluetooth, but th is isn't a true replacement for native
            no one beats Sonos for                                 support. For one thing, audio quality takes a hit

            choice.                                                compared to Wi-Fi, especially if your phone isn't aptX
                                                                   compatible (all iPhones), and you'll need to shutt le
                                                                   back and forth between the BluOS app and your music


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                                  Many inputs , one speake r


                                  Despite Bluesound's pleth ora of inputs, none of these are ab le to act as sources for
                                  othe r Bluesound speakers. Connect ing to a Pulse 2 via Bluetooth, for instance, means
                                  you can only listen on the Pulse 2 - speakers grouped with t he Pulse 2 wil l sit idle as
                                  long as you've chosen Bluetooth as t he source. Same goes fo r USB,and line-i n.
                                  Bluesound's team is aware that this put s them behind folks like Denon, and Yamaha,
                                  whic h can both distribute inpu t s from one speaker to many, and says they're go ing t o
                                  make this happen in a fu ture update. If and whe n they do, it will be a convenient way
                                  to invite guests to play music from t heir devices, something whic h Sones is sti ll unable
                                  to prov ide.




                                  The search begins


                                  Got lot s of music on your computer, some more on yo ur phone, and millions of more
                                  tracks availab le via stream ing services? That's a lot to wade through especially when
                                  you're looking for a very specific song or album. The solut ion is a comprehe nsive
                                  search featu re, and ever since Sones introduced its universal search, it's been the one
                                  to beat. With one field t o search across genres, types, and mediums, no one does
                                  search as well as Sones, but Bluesound comes closer than most. While there's no
                                  universa l search, there is a very good - and fast - search fu nction for each music
                                  source, be it your mu sic library, or a strea min g service. Unfortunately you can't filte r a
                                  search . Instead, search results are organ ized by type, so a search for " Dire Straits," will
                                  return a list that begins with art ists, moves to album s, then fin ishes with songs (if
                                  any). Dependin g on t he search te rm, t hat could be a lot of scrolling.




                                  Sounds personal


                                  So which one soun ds better? This is always t he hardest part of any review. It's harder
                                  sti ll w hen you introduce elemen t s like high-resolutio n audio, or get int o the weeds on
                                  attributes like EQ: Which is bett er, a flat, unadu lter ated EQ that stays true to the
                                  source, or one t hat has been massaged by digita l signal processing (DSP)?




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                                  For our comparison, we set up each speaker according to the step-by-step guidance
                                  the apps gave us. If the app encouraged us to do special tuning, as Sones' Trueplay
                                  system does, we did it. If not, we left things alone, working with the system's default
                                  settings. Both Sones and Bluesound give users the ability to modify bass and treble,
                                  but neither gives you a full-featured equalizer .


                                  For the majority of our test, we ran identical Tidal tracks through each system. When
                                  the highest available quality for a given track was 16-bit FLAC(CD quality) we'd play
                                  that version on both. When a high-res, or MQA version was available, we'd play that
                                  through the Bluesound system too, to see if we could detect the improvements of
                                  high resolution. We also listened to radio stations via Tuneln, local MP3, MC, and
                                  FLACfiles ripped from CD, or downloaded from iTunes, and used a variety of source
                                  devices, e.g. an iPhone 6, a Pixel XL, and a NAS drive.


                                                                   Finally, because both systems are designed to work as
            Blueso un d's approach
                                                                   home theatre speakers when the sound bars are
            creates so und that, while                             paired with two rear channel speakers, we used them
            powerfu l, clea n, a nd                                with 2-channel, 5.1 Dolby, and Dolby Atmos sources

            pr ecise, lacks warmt h,                               via an optical cable from an LG OLED TV.

            f ullness, and range.
                                                                   The verdict: Even though the Bluesound speakers
                                                                   delivered better definition (especially with high-res
                                  tracks), achieved significantly higher volume levels than their Sones equivalents, and
                                  could reproduce high frequency sounds like Adele's soaring vocals with ear-piercing
                                  precision, we think most people will sti ll prefer Sones.


                                  How can that be? We think the answer lies in the different approach each company
                                  takes to sound reproduction. With its roots in audiophile -grade equ ipment, and under
                                  the heavy influence of PSB's Paul Barton - who may hold the unofficial record for
                                  most hours spent in an anechoic chamber - Bluesound believes in a flat frequency
                                  response curve. In other words, its DSP(digital signal processing) shouldn't play any
                                  role in modify ing the EQ of the source mater ial. Sones takes a decidedly different
                                  approach, using its DSP to tweak the frequencies, and going a step further with its
                                  Truep lay tun ing to ensure that this tweaking is a reflection of the listening
                                  environment.


                                  Bluesound's approach creates sound that, while powerfu l, clean, and precise, lacks
                                  warmth, fullness, and range. Sonos, by contrast, doesn't deliver the same precision,
                                  and can't get as loud, but its EQ acrobatics let you experience more of the low and
                                  midrange - that "warmth" we're referring to - while simultaneously shaping the way
                                  the music fills the room. We aud itioned the systems for friends and family, without
                                  telling them any of this, and simply asked which system sounded better. Without
                                  exception, they preferred Sones. That's not at all scientific, and it's quite possible that
                                  if we had brought in a dedicated group of audiophiles to listen, they would have said
                                  the opposite . The takeaway here is that, while a flat frequency response may indeed
                                  be the most authentic way to reproduce a song, many ears may prefer something
                                  else.




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                                  Q Bluesound


                                  Before testing the two systems, we thought Bluesound's touted high-resolution
                                  playback would be the obvious point in its favor, but that didn't materialize as much
                                  as we expected. Yes,we certainly heard a difference, but it was subtle. Not only was
                                  there virtually no improvement on the small Pulse Flex, we had to really crank up the
                                  volume on the Pulse 2 and Pulse Soundbar to hear the extra detai l. It was there, no
                                  doubt about it, but, to put a number on it, we'd say it only improved th ings by about
                                  10 percent.


                                  On the home theater front, the difference between the two systems becomes acute.
                                  Bluesound can decode Dolby 5.1, but it can't use it to create a surround sound
                                  exper ience through just the Pulse Sound bar. The PlayBar, on the other hand, is
                                  dazzling, w ith an uncanny ability to trick your ears into thinking there's not only a set
                                  of surrounds, but a subwoofer too. If Bluesound has an edge here, it's with dialogue.
                                  The high-end precision of its tweeters, combined with its lack of sound shaping,
                                  means all voices are that much easier to hear.



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                                  Who won?


                                  Sonos continues to be the best choice for most people thanks to its combination of
                                  price, performance, ease of use, and compatibility with nearly every music source on
                                  the planet. Tack on its leadership position in the smart home space, and you get a
                                  nearly perfect whole-home audio experience.


                                  But there's always room for competition, and Bluesound has proven itself a strong
                                  contender. With an unparalleled number of inp uts, IR remote compatibility, high-
                                  resolution playback, and superb accuracy, Bluesound speakers deftly fill in gaps in the
                                  Sonos story. As much as we agree that Bluesound can justify some of its pr ice
                                  premium based on these features, ultimately they need to sound better to seal the
                                  deal. We think mo st people will prefer how Sonos sounds, and so for now, the
                                  company that started the wireless hi-fi category remains the king.


                                  Updated March 1, 2018: New pricing info on the 8/uesound PulseSoundbar.




                                  Editors' Recommendations


                                     ■   Sonos Beam vs. Sonos Playbar: Which home theater soundbar shoul d yo u buy?
                                     ■   Ikea's budget-mi nded Symfonisk Wi-Fi speakers hide Sonos audio in plain sight
                                     • The best Wi-Fi extenders fo r 2019
                                     ■   The best Wi-Fi 6 routers
                                     ■   Amazon will reportedly launch a hi-fi version of Amazon Music Unlimited




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                                                                                          Cringe along as we turn
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            Posted 6 days ago     By Rick Marshall




                                                                                                    DEAL




            AmericanAirlines expands its fast in-                         Amazon slashes the price on this TP-Link                Can the 3900X beat the 9900Kto
            flight Wi-Fi, but it still costs                              Whole Home Mesh Wi-Fi System                            become the best gaming CPUin the
                                                                                                                                  world?
            AmericanAirlines has completed the installationof             We've found a great deal on the latest-generation       One of the most important head to head hardware
            satellite-basedin-flight Wi-Fi for the whole of its           TP-Unk Deco Whole Home Mesh Wi-Fi System on             battles in 2019 is the Core i9-9900K vs. Ryzen 9
            mainline narrowbody fleet comprisingmore than                 Amazon right now that lets you do just that.            3900X. Whichever wins will be the best gaming
            700 planes, mainly on its domestic routes. But the            Everyonecan save up to $20 thanks to a coupon,          processorthe world has ever seen. Here'swhy we
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            8 hours ago     By Trevor Mogg                                3 days ago    By Ed Oswald                              4 days ago     By Jon Martin dale



                                                                                                    DEAL




            700 planes,mainlyon its domesticroutes.But the                Everyone can save up to $20 thanks to a coupon,         processorthe world has ever seen. Here'swhy we
            servicestillcosts.                                            but Amazon Prime Card holders can save even             think the winner deservesthe crown.
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                                                                                                    DEAL




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            Bad Boys to Ali to Hitch                                2019: Samsung, LG, and Vizio                              (June 2019)


            A ranking of Hollywood actor Will Smith's best          A good 4K smart TV is the only way to enjoy all your      Looking for a new show to binge? Lucky for you,
            moviesto date. Fromhis earlyrolesduringthe              favoriteshows,movies, and gamesin gloriousUltra           we'vecurateda listof the bestshowson Netflix,
            Fresh Prince days to his Oscar,baiting dramas,          HD. If you' re looking to take your home                  whetheryou'rea fan of outlandishantme,dramatic
            Smith has played all kinds of characters in a wide      entertainmentto the nextlevel,then we'vegot the           period pieces, or shows that leave you quest ioning
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